                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

WACHTER, INC.,                                        )
                                                      )
       Plaintiff,                                     )
                                                      )       Civil Action No. 3:18-cv-00488
v.                                                    )
                                                      )       Judge William L. Campbell, Jr.
BRIAN K. PITTS, MEGAN PITTS,                          )
JOSH ESTES, and CABLING                               )       Magistrate Judge Jeffrey S.
INNOVATIONS, LLC,                                     )       Frensley
                                                      )
       Defendants.                                    )
                                                      )

                           DEFENDANTS’ MOTION TO DISMISS


       Pursuant to Federal Rule of Civil Procedure 12(b)(1) and (6), Defendants Brian K. Pitts

(“Mr. Pitts”), Megan Pitts (“Ms. Pitts”), Josh Estes (“Mr. Estes”), and Cabling Innovations, LLC

(“Cabling Innovations”) (collectively, “Defendants”), by their undersigned counsel, respectfully

file this Motion to Dismiss.

       Plaintiff filed this case after firing Mr. Pitts, a managerial-level employee without a non-

compete agreement, for operating a side business that nonetheless did not directly compete with

Plaintiff’s business – at any time while Mr. Pitts was employed by Plaintiff. Plaintiff filed a

shotgun-style complaint asserting nine (9) causes of action against Mr. Pitts, his wife (Ms. Pitts),

and another former employee of Watcher, Inc. who has no non-compete agreement with Plaintiff

(Mr. Estes).

       Each of Plaintiff’s nine causes of action should be dismissed. Count I, Plaintiff’s claim

under the Computer Fraud and Abuse Act, 18 U.S.C. § 1030, should be dismissed, with prejudice,

because Plaintiff fails to allege a “loss” as defined by the statute, because Mr. Pitts and Mr. Estes

were authorized to access their work computers, and because Plaintiff fails to allege “damage” as




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defined under the act. Count II, Plaintiff’s claim under the Electronic Communications Privacy

Act, 18 U.S.C. § 2511, likewise should be dismissed, with prejudice, for failure to state a claim

because Plaintiff’s Complaint fails to allege, and Plaintiff cannot show, that Defendants

“intercepted” any communications. Count III, Plaintiff’s claim under the Stored Communications

Act, 18 U.S.C. § 2511, is similarly appropriate for dismissal, with prejudice, because the “user”

exception applies and because Defendants did not access a “facility” as defined by the statute.

Counts I-III provide the basis for federal question jurisdiction, and as they appropriately should be

dismissed, this Court lacks and should decline to exercise supplemental jurisdiction over the

remaining state law claims. Accordingly, Plaintiff’s Complaint should be dismissed in its entirety.

       Even if this Court did exercise supplemental jurisdiction over Plaintiff’s remaining state

law claims, Plaintiff fails to allege necessary elements of and/or fails to allege sufficient factual

allegations to satisfy the pleading requirements of the bulk of its claims arising under Tennessee

statutory and/or common law and, as a result, such claims should be dismissed. Count IV,

Plaintiff’s claim for breach of fiduciary duty fails because neither Mr. Pitts nor Mr. Estes were

directors or officers of Wachter, and therefore no fiduciary duty was owed. Count VI, Plaintiff’s

tortious interference with business relationships claim, should be dismissed for failure to state a

claim because Plaintiff fails to allege “improper motive” or “improper means,” it is preempted by

the TUTSA, and it does not meet the plausibility pleading standard. Count VII, Plaintiff’s unjust

enrichment claim, fails because Plaintiff does not allege that any of the Defendants received any

direct or indirect benefit from Plaintiff. Count VIII, Plaintiff’s claim for conversion, cannot stand

because intangible, intellectual property is not capable of being converted, and Plaintiff does not

allege that any tangible property was converted. Finally, Count IX, the claim for civil conspiracy

cannot stand without these failed predicate causes of action.




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       All of Plaintiff’s claims are subject to dismissal as a matter of law, and Defendants

respectfully request that the Court dismiss them with prejudice. In Support of this Motion,

Defendants rely on their contemporaneously-filed Memorandum of Law.

This the 16th day of July, 2018.

                                          MAINSAIL LAWYERS

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                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Defendants’ Motion to
Dismiss was electronically filed with the Clerk of the United States District Court, Middle District
of Tennessee, via the Court’s CM/ECF system, which will automatically serve all counsel of
record via electronic delivery.

This the 16th day of July, 2018.

                                              MAINSAIL LAWYERS

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